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U.S. District Court Clerk’s Office

Sandra Day O’Connor U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 1

Phoenix, AZ 85003-2118

Dear Court,

Please receive and consider this MOTION FOR COURT ORDERED MANDATORY INJUNCTION
to be issued to the Department of the Interior to protect Grand Canyon National Park, its workers,

and its visitors from unabated deadly safety hazards identified in STEPHENSON V DRAPEAUX.,

Thank You

Sincerely,

Elston L Stephenson

MOTION

Your Honor, respectfully, Plaintiff seeks an Order issued by this Court to the Department of Interior

(DOI) to fix the dangerous, life-threatening, and environmental hazards identified by Plaintiff in this case.

The Court will recall Plaintiff submitting into evidence several clear and present dangers to the lives
of the workers.and visitors of Grand Canyon National Park. In the half-year that this case has been before this
Court, and despite full awareness of these dangers; DO! has taken no action on any of these. In fact, DOI has
demonstrated a depraved indifference to them and hostility to Plaintiff for finding and reporting. While the
Department may ignore the dangers; Plaintiff prays that this Court cannot, and orders the Department to fix

these dangers and orders that Grand Canyon National Park safety be subject to Court oversight for 5 years.
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Respectfully, Your Honor, Plaintiff also asks that the Court receive amicus curiae briefs from
stakeholders with compelling/vested interests, and expertise in the impacts to safety, the life-threatening
and environmental hazards identified by Plaintiff, and the fiduciary of good stewardship of this precious

national and global treasure.

The Court will find DOI’s precise obligations to be determined in amicus, and that this case urgently
meets the traditions of Mandatory Injunction remedy. GRCA/NPS/DOI is fully to blame for the safety dangers
in question. The lives of workers and visitors are at stake. And it has only been a matter of luck that someone
has not been killed or seriously injured so far. Someone dying would obviously represent an /rreparable harm
if the Injunction is not granted. In the case of helicopter accidents, the building of a new Transcanyon Water
Pipeline slated to begin this year will see flights go from 10 per day to approximately 70 per day. Most,
exactly the same profile of the helicopter dropping 5,000\bs of piping onto the Park below—increasing the
exposure rate and cies guaranteeing a repeat if unaddressed. The Court will also find that while it is
traditional to determine in injunctive relief the good faith of DOI; DOI has done nothing to address these
matters—demonstrating no faith. \n fact, evidence has shown that several times it has broken the law—
falsifying documents, deleting documents, stamping documents with dubious designations to hide dangers
from the public (e.g. the ‘uranium map’ violating PEPC, NEPA, and CERLA), ‘secret pacts’, authoring dubious
‘reports’ to launder dangers, intimidating workers into silence, and a ‘Culture of Fraud’. There is nominal
cost as Plaintiff possesses the expertise to act as Court’s Executor. There is no burden as these are legal
requirements—these are things that DOI should be doing now. While there are laws on the books such as
29CFR §§1910, 1926 for OSHA workplace, and FAR/AIM Parts 91 and 135 for aviation operations, CERLA,
NEPA, and even 18USC §1001, 18USC §1621, and 18USC §401; GRCA/NPS/DOI has blown though these with

impunity. It is in the absence of oversight that these dangers—this dangerous culture has flourished.
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The Court will notice the hostility toward Plaintiff for recently relaying workers being scared of
contracting and being killed by the corona virus—COVID-19 as required by the duties of his job and position
description (Exhibit 2-10). The scathing email’s author could have shown concern for workers’ wellness. She
could have very well simply stated “| see that they are scared of dying of this killer virus...” Instead, she
revealed a hostility toward the workers for being scared for their safety and their lives. And if Your Honor
looks closer, there is also a very personal berating hostility toward Plaintiff. Plaintiff has asserted all along—in
fact, Plaintiff's reason for seeking a restraining order against Defendant for stalking his home is because
Defendant held/holds this very same hostility toward Plaintiff—as you see here; for raising safety concerns.

This is why (Motive) Defendant was caught stalking Plaintiff's home and why this case is before this Court.

Your Honor, please; an even closer look still, reveals that this person signed the email “Acting
Superintendent, Grand Canyon National Park” and dated “5/12/2020”. Your Honor, evidence (2-11) clearly
shows that this person was not the Superintendent of Grand Canyon National Park. The real Superintendent

took over 5/8/2020. indisputable evidence shows Author even actively acknowledges as much.
This fraud is currently the subject of an Office of Special Counsel (OSC) complaint and investigation.

Clearly this is yet another example of fraud (just like the falsified documents by Superintendent 4 to
OSHA of training that never happened; and falsified inventories of dead/obsalete AEDs to show them ‘good’;
the deleting from SMIS of the firefighter injured—burned as she was isolated, separated, and her position
overrun by fire (possible OWCP insurance fraud); the two falsified helicopter accident ‘investigations’
including the wild dropping of 5,000lbs of steel piping onto a heavily trafficked Bright Angel Trail below; and
falsified uranium reports deleting dangerous readings; the ‘secret pact’ keeping the facts of the uranium
exposures away from the workers and public, and more) in what Plaintiff has demonstrated through

indisputable evidence as GRCA/NPS/DOI's ‘Culture of Fraud’.
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The Court would be understood to ask, “Why would this person commit fraud to ‘smite’ Plaintiff?”
“Why would Defendant commit perjury?” “Why do so many senior officials feel such impunity to commit

crimes and risk prosecution regarding the safety of the workers and visitors they are charged to protect?”

Exhibit (2-12) shows that dogged inspection and investigation by Plaintiff in November 2019 revealed
that the Flagstaff, Coconino Forestry building (housing about 25 GRCA employees and at least 50 federal
workers of other Agencies) had deliberately let the entire fire protection system lapse—posing danger to all
workers and the public in the building. He found an Emergency Exit sign was inoperative, and every fire
extinguisher in the building was let to expire over a pricing dispute with the servicer. Evidence shows that
Plaintiff properly and promptly reported it to GRCA leadership. Defendant was tasked with fixing it.
Defendant falsified that the problem was fixed. When Plaintiff dutifully returned to verify, he not only found
the Emergency Exit sign still broken and every single fire extinguisher still expired, but his deeper
investigation found the building’s entire fire sprinkler system, the entire fire alarm system, and fire detection
system to have lapsed as well. Plaintiff doggedly found the entire fire protection system to be unreliable—
which endangered the lives of upwards of 100 people in the build at a time. When confronted with
Defendant's fraud, Plaintiff called OSHA. OHSA came out that morning—driving all the way up from Phoenix
and confirmed the violations. When the building’s owner reportedly ‘fixed’ the problems, Plaintiff, as his duty
required, returned to verify. He insisted on a fire alarm drill as required by law. When the drill was conducted
none of the alarms on the entire second story (housing GRCAs employees) sounded. To this date, no test has

been conducted in which any fire alarm on the second floor can be heard or confirmed to work.

The 2015 ‘uranium map’ (Exhibit Z-13) clearly shows GRCA/NPS/DOI's intent to hide from workers
and the public their exposure to uranium on the heavily trafficked road to Hermit’s Rest. Plaintiff clearly
recalls young ACC workers laying on the ground resting and eating on that uranium laden terrain for hours at
a time as they conducted trail repairs over several days. Plaintiff himself was sent into the ‘bull's eye’ of that

red target several times as these hazards were knowingly and deliberately withheld from him.

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In addition to the Culture of Fraud, Plaintiff's dogged investigation of the helicopter accidents found
a fatal flaw which also serves as an /ndicator to any formally trained investigator. Respectfully, it should
shock the Court to know that entire National Park Service's Director’s Manual for Aviation Management (DM-
60) has just 2 pages for Accident Mishap Procedures. Aircraft Mishap Documentation has only the title (the
rest is blank). What should shock the Court most is that in regard to accident investigations; “NPS RD will
determine within 14 days whether an internal NPS review of an aviation mishap is necessary”. This is just to
make the decision to investigate. Hopefully, the Court will agree that the perishability of physical evidence,
witness statements (much less locating witnesses), and weather damaging a site suggests that this is not a

serious program. In professional safety jargon, this is a dangerous Indicator, Your Honor. (Exhibit Z-14)

This fatal demonstration of DOI/NPS’ commitment to the safety and health of its workers and visitors
is amazingly replicated as evidence shows that opening the DOI/NPS Director’s Order SOB National Park
Service Occupational Safety and Health Program and turning the page to Radiation Protection [Uranium] will
find “RESERVED” and a completely blank page (Exhibit Z-15), This is 2 years after Grand Canyon’s infamous

uranium crisis and several other parks having uranium dangers. DO! is aware and chose to do nothing.

Likewise, in this killer COVID-19 pandemic, a worker opening ‘50B’ seeking measures that would save
their lives would similarly find a blank page and “RESERVED” at the top of the Infectious Disease Control
section. Your, Honor, these are Indicators that any certified professional ISO 45001 or OHSAS 18001 auditor
(such as Plaintiff) would note as a ‘tell'—evidence of DOI’s commitment to safety despite its words. It is also

further evidence that left to its own devices, DO! will continue to do nothing for safety. It must be compelled.

It should shock and deeply offend the Court to find, predictably, that GRCA/NPS/DOI resorted to the
very same tactics of false and misleading statements to its workers and community during the ongoing
deadly Corona virus (COVID-19) pandemic. Defendant himself, shamelessly and without guilt or
consciousness on a 3/11/2020 ‘Stakeholder’s Call’ misled the entire community upset that GRCA was late in

taking any action as the pandemic exploded across the country. As GRCA tried to slow major concessioners

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Xanterra and Delware North’s closure measures as DOI/NPS/GRCA fumbled closing, Defendant deliberately
misled them into believing that DOI/NPS/GRCA had taken the earliest action by standing up an Incident
Command System (ICS) that day when Plaintiff (a formerly trained war planner) urged the GRCA
Superintendent and GRCA Park Senior Executive Team (PSET) to stand up the team weeks and days earlier
(respectively)—even before DOI and NPS took such action at their Washington DC headquarters. Plaintiff's

pleas were ignored by both the Superintendent and PSET (Exhibit Z-16).

Other ‘misleading’ events may have contributed to workers being needlessly exposed to and

contracting COVID-19.

As the United States deals with the deadly impacts of racism, experts and amicus will redouble that
racism has safety and health impacts. Evidence demonstrates, and the Court will find that as with all the
other safety and health dangers DOI/NPS/GRCA—left to their own devices have chosen to do nothing about
Grand Canyon’s Racism. This includes years old Native American’s complaints of being targeted and
persecuted. This includes episodes such as one African-American so afraid of getting pulled over and shot
(even in the Park) for ‘driving while black’ that he drives around with his ‘paper’ (registration, insurance, etc.)
atop his dashboard so that he does not risk getting shot while reaching for them in his glove box. He even
urged Plaintiff to share this with PSET (Exhibit Z-17), which Plaintiff did. PSET and the Superintendents have
done nothing in the more than 2 years since it was presented to them. And even as an African-American

family was humiliated and chased from the Park under the most vile, racist of circumstances just weeks ago.

Likewise, no action was taken when Plaintiff's investigation discovered that those on the lower end
of the economic scale (usually people of color) were herded into a food price gouging situation. This
arrangement co-signed by GRCA/NPS/DOI forced non-credit card holders to pay 13%-97% more for food at
the very same Tusayan General Store as the Park General Store—in a ‘food desert’ with the nearest

supermarkets being nearly 200 miles and 100 miles away roundtrip (Flagstaff, Williams respectively).
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The entire community pitched in with a local pizza parlor donating free pizza, food pantries; free
meals, compassion, and help on one end and the “the least among us” being victimized in their captivity with

GRCA/NPS/DOI (perhaps unaware of the impact) as a co-signer to this arrangement on the other.

Evidence (Exhibit 18) shows that Plaintiff detailed and dutifully documented random disparities and
wrote each member of the Park Senior Executive Team (PSET). Initially he was given a ‘distribution/delivery
cost’ excuse by GRCA/NPS/DOI. Superintendent 5 summarily shut down the conversation by hostily declaring

“We can’t to nothing. It's not on the Park.”

The Court will recognize that there were things that could have been done such as convincing the
park store to take cash (if one store could take it so could the other), warning the workers, setting up buddy
systems where a card holder could ‘buy for’ and immediately be paid by a non-card user, or ask the Tusayan
store set the same prices during the shutdown as nearly all of the traffic was of the local community of

shared hardship, Magically, when the Park reopen; the store again accepted cash.

Plaintiff doggedly and dutifully waited at about Gam 5-22-2020 (Exhibit 2-18) to watch the delivery
truck stop and the Park store then follow it directly to the Tusayan store just outside the gate. And on 6-22-

2020 engaged a driver who revealed that his route was Phoenix to Tusayan store to the park store.
Your Honor, the ‘distribution/delivery cost’ excuse proved to be just another fraud.

Again, experts and amicus will attest that these, too, are safety and health dangers. And that despite

being brought to the highest levels by Plaintiff; and GRCA/NPS/DOI choosing to do nothing to fix them.

Exhibit (Z-19) demonstrates that as Plaintiff brought the falsified helicopter accident investigations
(complete with video), the falsified OSHA documents, the ‘uranium map’, the deleted burned firefighter, and

more before the Park Senior Executive Team (PSET) on 2/24/2020, they were paralyzed into inaction,

The evidence demonstrates, and the Court will recognize that GRCA/NPS/DOI has failed at every

major danger to life/safety and environmental matter brought to its attention in the past 3 years. Plaintiff
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welcomes GRCA/NPS/DO! to identify to the Court a single instance where it has acted in the interest of safety

without being compelled from autside.

Your Honor, it is because of these failures, and repeated, demonstrated propensity for outright
hostility toward safety for the workers and visitors that Plaintiff asks that the Court orders DO! to fix these
deadly dangers. These dangers have been before this Court for half a year. They were known to DOI for much
longer. Left to their own devices, DO! has demonstrated no concern and taken no action to fix them. They
could have very easily fixed them in the time that has lapsed if that was what they wanted to do. While the
DOI can ignore that these could have killed people and still can; Plaintiff respectfully begs the Court not to

show the same depraved indifference and hostility towards these peoples’ safety—towards their lives.

Exhibit Z-20 demonstrates that during the ‘uranium crisis’ Plaintiff secured the mentorship of two
Assistant Secretaries of Labor, OSHA Administrators—one Republican Administration, one Democratic

Administration, but called it off for fear of tainting their honor and reputation with this ‘Culture of Fraud’.

Likewise, Exhibit Z-17 demonstrates that Plaintiff wanted to invite the 44" President of the United
States to Grand Canyon to celebrate its 100" Anniversary, but found Grand Canyon’s Racism so bad and
systemic (hovering around 1% African-American workers year-over-year in a country of 13%) that he did not

want to taint the President with Grand Canyon’s Racism and called it off.
The safety profession knows—amicus will attest, that it takes 5 years to establish a safety culture.

Your Honor, it is because of this repeatedly demonstrated ‘Culture of Fraud’ that Plaintiff respectfully

begs the Court to impose a 5-year oversight with semi-annual reporting. (28CFR §76.20)

Because Plaintiff is intimately knowledgeable of these dangers, and because there is no one more
uniquely and expertly qualified (Exhibit 2-21) in all of the areas than Plaintiff, and unmatched proven
professional technical standards and dedication; Plaintiff asks that the Court appoint him as the Court's

Executor to verify action and conduct semi-annual reporting to the Court,

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Your Honor, over 6 million people visit Grand Canyon National Park each year from all over the
world, Over 2,000 people live here. Between 300 and 500 work here. Every single one of them is someone's
loved one. Every single loved one of them is owed not having 5,000|bs of steel pipe raining dawn onto them
and possibly killing them, not being exposed to uranium, not being abandoned and trapped by fire and
records ‘disappeared’, not being racially discriminated against, and not being endangered by an Agency
which takes no action to make/keep them safe. And when bad things happen, the American people deserve
the truth; not to be targeted with lies, falsified statements, falsified documents, and schemes. Evidence
shows that GRCA/NPS/DOI has indisputably failed—literally and demonstrably choosing not to look after
these loved ones. These dangers discovered and reported by Plaintiff represent urgent and grave risks to life.
This is why this Motion should be granted, Your Honor. It is very similar to the multiple court Consent Orders
imposed on DO! as Grand Canyon National Park was found to be violating water quality safety. (Exhibit 2-22),
Your Honor, it is difficult to imagine more dangerous circumstances affecting more people and with more

merit for such action. If anyone would object to these safety measures, the outstanding question is why?

Thank You, Your Honor.

Respectfully Submitted,

El-foa

Elston L. Stephensosi, OHST
Safety Health-& Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

